         Case 1:21-cr-00407-DLF Document 78 Filed 06/30/22 Page 1 of 1




                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

    v.                                      Case No. 21-cr-407-DLF

DANIEL JOHNSON

         Defendants.

                 RESPONSE TO MOTION TO DELAY REPORTING

    The government does not oppose Daniel Johnson’s motion to delay reporting (Doc. 77).



                                       Respectfully submitted,

                                       MATTHEW M. GRAVES
                                       UNITED STATES ATTORNEY

                                BY:    /s/ Samuel S. Dalke
                                       SAMUEL S. DALKE
                                       PA Bar No. 311803
                                       Assistant U.S. Attorney, Detailee
                                       U.S. Attorney’s Office
                                       601 D Street, NW
                                       Washington, D.C. 20001
                                       717-515-4095
                                       Samuel.S.Dalke@usdoj.gov
